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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA                       )
                                               )
        v.                                     )       CASE NO. 1:08cr215-MEF
                                               )
ARMANDO EUDOCIO REYNOSO,                       )
a/k/a “Gordo” and “Amigo”                      )

                        AMENDED FINAL ORDER OF FORFEITURE

        WHEREAS, on October 7, 2009, this Court entered a Final Order of Forfeiture (Doc.

184), forfeiting the following property to the United States:

                (a)     an FBL Inc. handgun, bearing serial number 41658;

                (b)     an Intratek 9mm Luger handgun, bearing serial number
                        64228;

                (c)     a Sig Sauer P226 .40 caliber pistol, bearing serial number
                        UU600469;

                (d)     an FNH 5.7 x 28 pistol, bearing serial number 386138454;

                (e)     a Mossberg 500A 12 gauge shotgun, bearing serial number
                        R9126745;

                (f)     a Mossberg pistol grip 12 gauge shotgun, bearing serial
                        number R841974 ;

                (g)     a Marlin .22 caliber rifle, bearing serial number 93655110;
                        and,

                (h)     a Charles Daly FN .308 caliber rifle, bearing serial number
                        FG10329.

        No timely petition has been filed and all third-party interests are barred by failure of those

parties to file a timely petition; and,



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       The Court finds that defendant Armando Eudocio Reynoso a/k/a “Gordo” and “Amigo” has

an interest in the property that is subject to forfeiture pursuant to Title 21, United States Code,

Section 853; Title 18, United States Code, Section 924(d) and Title 28, United States Code, Section

2461(c). The United States has established the requisite nexus between such property in the

commission of the violations of Title 21, United States Code, Section 846; Title 21, United States

Code, Section 841(a)(1); and, Title 18, United States Code, Section 924(c).

       NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

       1.      The following property, as amended, is hereby forfeited to the United States

pursuant to Title 21, United States Code, Section 853; Title 18, United States Code, Section 924(d)

and Title 28, United States Code, Section 2461(c):

               (a)    an FBL Inc. handgun, bearing serial number 41658;

               (b)    an Intratek 9mm Luger handgun, bearing serial number
                      64228;

               (c)    a Sig Sauer P226 .40 caliber pistol, bearing serial number
                      UU600469;

               (d)    an FNH 5.7 x 28 pistol, bearing serial number 386138454;

               (e)    a Mossberg 500A 12 gauge shotgun, bearing serial number
                      R926745;

               (f)    a Mossberg pistol grip 12 gauge shotgun, bearing serial
                      number R841974 ;

               (g)    a Marlin .22 caliber rifle, bearing serial number 93655110;
                      and,

               (h)    a FN Special Police .308 caliber rifle, bearing serial number
                      FG10329.




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       2.      All right, title and interest to the property described above is hereby condemned,

forfeited and vested in the United States of America and shall be disposed of according to law;

       3.      The United States District Court shall retain jurisdiction in the case for the

purpose of enforcing this Order; and,

       4.      The Clerk of the Court shall forward a certified copy of this Order to the United

States Attorney’s Office.

       5.      The Motion to Amend/Correct Oder of Forfeiture of Property (Doc. # 188) is

GRANTED.

       SO ORDERED this the 5th day of April, 2010.



                                                       /s/ Mark E. Fuller
                                              CHIEF UNITED STATES DISTRICT JUDGE




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